 

the laws of the State of Washington. It has its principal place of business
Washington. Its registered agent for service of process is Richard Willia1
be served at: 3767 Alpha Way, Bellingham, Washington, 98225.
3. Defendant, Comm/Net, Inc., ("Comm/Net"), is a corporation, that

the laws of the State of Nevada. On information and belief, Comm/Net h

business in the State of Nevada and not in the State of Texas. Its register

PLAINTIFF'S ORIGINAL COMPLAINT & REQUEST FOR DECLARATORY JUDGMENT PAGE NO |

 

 

 

 

 

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C , UNITED STATES DISTRICT COURT Ju
NORTHERN DISTRICT OF TEXAS | L.... ...---- -- ;
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CARLETON "MICKEY" MILLER, § nl
§
Plaintiff, §
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§ Civil Action No.
ALPHA TECHNOLOGIES, INC., §
a Washington Corporation, and §
COMM/NET, INC., a Nevada §
Corporation, §
§
Defendants. §
PLAINTIFF'S ORIGINAL COMPLAINT & REQUEST FOR DECLARATORY
JUDGMENT
A. PARTIES
1, Plaintiff, Carleton "Mickey" Miller, is an individual who is a citizen of the State of
Texas.
2. Defendant, Alpha Technologies, Inc. ("Alpha") is a corporation that is incorporated under

in the State of

ms. Mr. Williams may

is incorporated under
as its principal place of

ed agent for service of

 
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process is Lionel Sawyer & Collins. This Defendant may be served with

registered agent at: 50 W. Liberty Street, Suite 1100, Reno, Nevada, 895(

B. JURISDICTION
4, The Court has jurisdiction over the lawsuit under 28 U.S.C. §133
and the Defendants are citizens of different states, and the amount in cont
$75,000.00, exclusive of interest and costs.
C. FACTS
5. Plaintiff brings this claim for a declaratory judgment under Fed. R
U.S.C. §§2201, 2202.
6. During August, 1997, Defendant Alpha and its wholly owned sub
CommNet, negotiated with Plaintiff, while he was in Texas about a job a
President. After substantial negotiations, they agreed to the offer letter at
herein as Exhibit "A". That agreement was signed by the Plaintiff in Tex
7. On or about September 15, 1997, Plaintiff started his employment
While visiting with the Defendants in Washington, on his second day as :
presented him with an agreement regarding confidential information and
copy of the first noncompetition agreement is attached and incorporated |
8.

That agreement contained a provision preventing him from enterit

with a competing business for a period of one (1) year from the date that

PLAINTIFF'S ORIGINAL COMPLAINT & REQUEST FOR DECLARATORY JUDGMENT PAGE NO 2

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noncompetition. A true
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his employment would

 
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terminate with Defendants. After discussing the matter with the Defendants, Plaintiff executed
the agreement which was limited only to twelve (12) competitors. [Lucent Technologies with
whom the Plaintiff is now currently employed by was not one of the twelve (12) companies from
whom Plaintiff was prevented from working for under that agreement.]
9. While employed as Regional Vice President for the Defendants in the State of Texas,
Plaintiff managed sales in the Southwest Region and in performing this job, his duties were
carried out in Texas. |
10. On or about August 29, 1999, Plaintiff was presented in Texas with a supplemental

|
executive bonus plan and a second nondisclosure and noncompetition agreement, both of which
were discussed, negotiated and executed by Plaintiff in the State of Texas, A true copy of the
supplemental executive bonus plan and second noncompetition agreement is attached and

incorporated herein as Exhibit "C". |

11. At all times during the performance of his duties, Plaintiff performed those while in
Texas. The second noncompetition agreement (Exhibit "C") was negotiated and executed in
Texas. The place of performance was in Texas. The location of the subjdet matter of the second
noncompetition agreement was in Texas. |

12. At all times relevant to his employment with Defendants, Plaintiff was a resident and
citizen of Texas, and conducted his business in Texas. |

13. On or about May 25, 2000, Plaintiff left the employment of Deferidants and went to work

for Lucent Technologies, Inc., in Mequite, Texas.

 

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14. Plaintiff was sued on June 6, 2000, by Defendants in an action filed in the Superior Court
of Washington, Whatcom County, Washington. (Case No. 00200958). The primary purpose of
that litigation is to restrain Plaintiff from working for Lucent. That case has been removed to the
United States District Court, Western District of Washington at Seattle. (No. 00-1018R).

15. Defendants in that litigation seek to restrain Plaintiff from working for Lucent
Technologies in Mesquite, Texas. Plaintff, is currently employed by Lucent, but is not
competing and is not in breach of the noncompetition agreements.

16. Defendants seek to restrain Plaintiff from working for Lucent by application of
Washington law. If successful in restraining Plaintiff, Defendants will cause him to lose in
excess of $75,000.00 in salary alone and an equivalent amount in commissions.

17. The State of Washington has no substantial relationship to the parties or to the
transactions contemplated by the noncompetition agreements and there is no other reasonable
basis for the application of Washington law. In the alternative, the application of the law of
Washington would be contrary to the fundamental policy of Texas which has a materially greater
interest than Washington in the determination of the enforceability of the noncompetition
agreements.

18. Plaintiff will show that the noncompetition agreements should be interpreted in
accordance with Texas law and that they are illegal. Under Texas law they are null and void.

19. Texas has a materially greater interest than does Washington in determining whether the

noncompetition agreements are enforceable. The relief that Plaintiff requests will serve a useful

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purpose in clarifying and settling the legal relations at issue. When resolved by this Court, it will
terminate and afford relief from the uncertainty, insecurity, and controversy giving rise to this

proceeding.

D. REQUEST FOR RELIEF

20. Plaintiff realleges the preceding paragraphs as fully set forth herein.
21. A case in controversy has arisen between the parties to the above-captioned lawsuit
having adverse legal interests of sufficient immediacy and reality as to warrant the issuance of a
declaratory judgment. Plaintiff seeks a Declaratory Judgment holding that:
(a) The noncompetition agreements upon which Plaintiff has been sued by Defendants
must be interpreted in accordance and reliance upon applicable Texas law;
(b) Washington is not the proper choice of law to determine the venue and rights of the
Plaintiff as those rights are fundamental to the State of Texas;
(c) That the noncompetition agreements are illegal in Texas and, therefore, in accordance
with Texas law, they are unenforceable;
(d) In the alternative, the agreements, if proven to be enforceable in total or in part, which
is expressly denied by Plaintiff, should be reformed, if that remedy be available, and done
so in accordance with Texas law.
22. If Defendants proceed with their current attempts to restrain Plaintiff based upon
noncompetition agreements which are unenforceable in Texas, Plaintiff will be forbidden to

work and be a productive citizen of this state. As such, this restraint is illegal in nature and

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contrary to the Constitution of the United States of America, the Consitution of the State of
Texas, public policy in the State of Texas, common law of this district and the State of Texas.
24. The Declaratory Judgment prayed for herein seeks relief that will decide a purely legal

question that arises in the context of a justiciable controversy presenting other factual issues.

E. PRAYER

Wherefore, all premises considered, Plaintiff prays for a judgment against Defendants
for:

(a) The noncompetition agreements upon which Plaintiff has been sued by Defendants

must be interpreted in accordance and reliance upon applicable Texas law;

(b) Washington is not the proper choice of law to determine the venue and rights of the

Plaintiff as those rights are fundamental to the State of Texas;

(c) That the noncompetition agreements are illegal in Texas and, therefore, in accordance

with Texas law, they are unenforceable;

(d) In the alternative, the agreements, if proven to be enforceable in total or in part, which

is expressly denied by Plaintiff, should be reformed, if that remedy be available, and done

so in accordance with Texas law;

(e) Reasonable attorneys fees;

(f) Costs of Court; and,

(g) all other relief the Court deems appropriate.

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Respectfully submitted,

  
    

LAW OFFICES OF CHRISTOPHER A. KALIS

By:

 

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CARLETON "MICKEY' MILLER

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